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IN THE UNITED STATES DISTRICT coUR TS
NORTHERN DISTRICT OF ILLINOIS,

CARLOS PANTHERA, POD Les

Plaintiff,
O1 C 3059

Vv.

Judge Kennelly

CAPTAIN VORDERER, LIEUTENANT TOM SIMON,
LIEUTENANT FRANK RAGLIONE, and BOARD OF
FIRE AND POLICE COMMISSIONERS JOHN C,

)
)
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)
)
VILLAGE OF OAK LAWN, CHIEF JAMES HOUK, )
)
FRIEL, WILLIAM EGAN and ROBERT BANAS, )

)

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Defendants. 26 2007 % 200]
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AMENDED COMPLAINT COuay

NOW COME Plaintiff, CARLOS PANTHERA, by and through his
attorneys, LOEVY & LOEVY, and in support of his Complaint against
VILLAGE OF OAK LAWN, CHIEF JAMES HOUK, CAPTAIN VORDERER,
LIBUTENANT TOM SIMON, LIEUTENANT FRANK RAGLIONE, and BOARD OF
FIRE AND POLICE COMMISSIONERS JOHN C. FRIEL, WILLIAM EGAN, and
ROBERT BANAS, states as follows:

Introduction

1. This action is brought pursuant to 42 U.S.C.
Section 1983 to redress the deprivation under color of law of
Plaintiff’s rights as secured by the United States Constitution.

Jurisdiction and Venue

2. This Court has jurisdiction of the action pursuant
to 28 U.S.C. § 1331 and § 1343.

3. Venue is proper under 28 U.S.C. § 1391(b). On
information and belief, all defendants reside in this judicial
district, and the events giving rise to the claims asserted

herein all occurred within district.
Background

4, This case involves a gross abuse of authority by a
Chief of Police and other powerful municipal officials, all of
whom apparently perceived that they could act with total impunity
in punishing a police officer for daring to speak out on matters
of public concern.

5. Plaintiff, Carlos Panthera, is a thirty-three year
old former resident of Oak Lawn, Illinois.

6. After completing a four-year tour of duty with the
United States Navy, Plaintiff attended the Illinois State Police
Academy and became a patrolman for the Village of Oak Lawn Police
Department ("the Department") in 1996.

7, Plaintiff received numerous commendations,
honorable mentions and other recognition for his work as a
patrolman. At all times, Plaintiff exceeded his employer's
legitimate expectations.

The June 28, 2000 Service Merchandise Call

8. On the evening of June 28, 2000 Plaintiff and
Lt. Frank Raglione responded to a breaking and entering call at
Service Merchandise in Oak Lawn, Illinois.

9. The two officers spent approximately forty minutes
inside the building with a civilian agent of Service Merchandise,
searching for any intruders.

10. During this search, Plaintiff remained concerned
about the possibility that unauthorized, and possibly dangerous,

individuals were present in the store.
11. During the search, Plaintiff became concerned with

the manner in which Lt. Raglione handled himself. Specifically,
Plaintiff believed that Lt. Raglione did not follow proper
procedure in searching the building in that the lieutenant seemed
far more interested in "flirting" with the female civilian key
holder than in completing the search.

12. In this manner, Plaintiff also believed that
Lt. Raglione’s actions put Plaintiff, and more importantly the
civilian, at risk of grave harm,

13. Wishing to report this serious act of endangering
a civilian through the proper command channels, on or about June
28, 2000, Plaintiff brought his concerns to the office of Lt. Tom
Simon, the acting watch commander. Plaintiff reported to Lt.
Simon, among other things, Lt. Raglione’s serious mishandling of
the call and the danger it created for those inside the store.

14. Plaintiff also expressed concern about the length
of time Lt. Raglione took in directing the search of the Service
Merchandise building. Because of an unrelated home invasion that
occurred in Oak Lawn at the time of the Service Merchandise call,
Oak Lawn citizens faced a serious threat of harm while valuable
police department manpower was being tied up in conducting the
unduly delayed search of the store.

The June 30, 2000 Meeting

15. On or about June 30, 2000, Plaintiff went into to
Lt. Simon’s office to discuss the status of his complaint
regarding Lt. Raglione. At that time, Lt. Simon informed

Plaintiff that the complaint had been investigated, and though he
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felt some of Lt. Raglione's actions were in fact serious, the
matter had already been "handled", or words to that effect.

16. During the conversation with Plaintiff, Lt. Simon
then insisted that Lt. Raglione join the two of them in his
office. Plaintiff objected, and even went so far as to request
of Lt. Simon that he be allowed third party witnesses to observe
the conversation. Lt. Simon refused this request.

17. The conversation between the three men was wholly
inappropriate and unprofessional and focused on Lt. Raglione’s
professed concern regarding whether Plaintiff "respected [him] as
aman', or words to that effect.

18. Shortly after the June 30, 2000 conversation,
Plaintiff learned that none of the witnesses (including several
other police officers) relating to Plaintiff's Service
Merchandise complaint to Lt. Simon regarding Lt. Raglione had
been contacted by Lt. Simon.

19. This was the case notwithstanding that it was
standard procedure for the Department to interview all officers
present for the events which lead to a complaint of this nature.

20. Sometime after Plaintiff's June 28, 2000 complaint
regarding Lt. Raglione had been lodged, Lt. Raglione instituted
his own complaint against Plaintiff relating to the same
incident. As described below, Lt. Raglione’s complaint was a
substantial component of the effort to terminate Plaintiff.

The July 7, 2000 Pepper-Spray Incident
21. Approximately ten days later, on July 7, 2000,

Plaintiff was assigned to watch over Christopher Foltz, a
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civilian who had been pepper-sprayed and arrested, as he was
being booked at the Department.

22. Foltz was extremely agitated about the fact that
he had been pepper-sprayed.

23. In an attempt to calm Foltz, Plaintiff inquired
into the reasons for his anger. Upon hearing Foltz claim that he
had been pepper-sprayed "for no reason", or words to that effect,
Plaintiff informed him that if that was truly the case he had the
right to file a lawsuit.

Chief Houk’s Directive

24. On or about July 10, 2000, Oak Lawn Police Chief
James Houk issued a directive stating that Plaintiff was to be
put on administrative leave pending an internal investigation
regarding undisclosed charges (the "Charges").

25. Per that directive, Captain Terrence Vorderer left
a message for Plaintiff informing him that he was under
investigation and was therefore immediately placed on
administrative leave. To that end, Plaintif£ was told to report
to Cpt. Vorderer in order to turn in his star, shield,
identification cards and station keys.

26. Shortly after retrieving the message, Plaintiff
contacted Pat Barron and John Flood, officials with his union, to
discuss the situation. Under the circumstances, Plaintiff did
not want to meet with Cpt. Vorderer without union representation.

27. The next day, on or about July 11, 2000, as
requested, Plaintiff turned in his equipment to the Department.

At no point during his discussions with any member of the
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Department was Plaintiff ever informed that a failure to report
to Cpt. Vorderer immediately was to be considered an act of
insubordination.

28. On or about July 12, 2000, Plaintiff was informed
by union officials that a meeting with Cpt. Vorderer would occur
on July 14, 2000.

29. On July 12, 2000 and the morning of July 14, 2000
union officials attempted to discuss Panthera’s status with Cpt.
Vorderer, who declined to offer substantive comment on the
situation.

The July 14, 2000 Meeting

30. On July 14, 2000 Plaintiff attended a meeting with
Cpt. Vorderer at which he was informed he was under investigation
and would be placed on administrative leave pending its
completion.

31. During the July 14, 2000 meeting, Cpt. Vorderer
also informed Plaintiff that his refusal to meet earlier
constituted insubordination.

32. From that point forward, Plaintiff was assigned to
perform menial clerical tasks at the Department. He was assigned
to a small room on the Department’s second floor, and any contact
between he and his fellow officers was forbidden.

33. In the Fall of 2000, Plaintiff was informed that
he was being charged with violations stemming from the events of
June 28, June 30, July 7 and July 14, all described above.

34. As described above, Plaintiff committed no

misconduct in connection with any of the events described above.
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The Board of Fire and Police
Commigsion Proceedings

35. In February of 2001 Plaintiff was found guilty by
the Board of Fire and Police Commissioners of the Village of Oak
Lawn, Illinois ("the Board") of violating Department policies.

36. A mitigation hearing was conducted before the
Board in February of 2001. At that hearing numerous fellow
Department members testified on Plaintiff's behalf, both as a
person and as a patrolman.

37. On March 26, 2001, at Chief Houk’s request, the
Board made the decision, incorporating its prior, non-final
decision of February 8, 2001, to remove Plaintiff from his former
position as a patrolman and as a member of the Department
(collectively, "the Decision").

38. Plaintiff's termination was unlawful, unsupported
by evidence, and plainly retaliatory, giving rise to the
following legal causes of action.

Count I -- 42 U.S.C. 1983:
First Amendment

39. Plaintiff realleges each of paragraphs 1-38 as if
fully stated herein.

40. The First Amendment to the United States
Constitution guarantees Plaintiff's rights to speak out on
matters of public concern without unjust retaliation.

41. Prior to his unlawful termination, and as a direct
cause thereof, Plaintiff engaged in protected speech on matters

of public concern.
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42. In retaliation for their exercise of protected
speech, Defendants retaliated against Plaintiff in the manner
described in the preceding paragraphs.

43. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

44. The misconduct described in this Complaint was
undertaken pursuant to the policy and practice of the Department
in that:

a. As a matter of both policy and practice, the
Department directly encourages, and is thereby the moving force
behind, the very type of misconduct at issue here by failing to
adequately train, supervise and control its officers, such that
its failure to do so manifests deliberate indifference; and

b. As a matter of both policy and practice, the
Department facilitates the very type of misconduct at issue here
by failing to adequately punish and discipline prior instances of
similar misconduct, thereby leading officers to believe their
actions will never be scrutinized and, in that way, directly
encouraging future abuses such as those affecting Plaintiff; and

c. Municipal policymakers with final policy-
making authority were either the moving force behind the
complained-of actions, or else affirmatively ratified the same.

WHEREFORE, Plaintiff, CARLOS PANTHERA respectfully
requests that the Court enter judgment in his favor and against
VILLAGE OF OAK LAWN, JAMES HOUK, CAPTAIN VORDERER, LIEUTENANT TOM

SIMON and LIEUTENANT FRANK RAGLIONE, awarding compensatory
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damages and attorneys’ fees, along with punitive damages against
the individual Defendants in their individual capacities, and any
other relief this Court deems just and appropriate.
Count II -- 42 U.S.C. 1983:
Equal Protection

45. Plaintiff realleges each of paragraphs 1-44 as if
fully stated herein.

46. Plaintiff has been victimized irrationally by
powerful municipal actors based on his membership in a certain
class of individuals.

47. Members of Plaintiff's class were treated
differently than other similarly-situated individuals.

48. The differential treatment of Plaintiff, described
in the preceding paragraphs was intentional and arbitrary,
motivated by nefarious and discriminatory purpose, and was not
rationally related to any governmental interest.

49. The misconduct described in this Complaint was
undertaken pursuant to the policy and practice of the Department
in the manner described above.

50. The misconduct described in this Count was
undertaken with malice, willfulness, and reckless indifference to
the rights of others.

51. As a result of the above-described wrongful
conduct, Plaintiff has suffered financial and other damages,

including but not limited to, mental stress and anguish.
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52. The misconduct described in this Complaint was
undertaken pursuant to the policy and practice of the Department
in the manner described above.

WHEREFORE, Plaintiff, CARLOS PANTHERA respectfully
requests that the Court enter judgment in his favor and against
VILLAGE OF OAK LAWN, JAMES HOUK, CAPTAIN VORDERER, LIEUTENANT TOM
SIMON and LIEUTENANT FRANK RAGLIONE, awarding compensatory
damages and attorneys’ fees, along with punitive damages against
the individual Defendants in their individual capacities, and any
other relief this Court deems just and appropriate.

Count III -- Supplemental State Claim:
Illinois Administrative Review Law, 5/3-101 et seq.

53. Plaintiff realleges each of paragraphs 1-52 as if
fully stated herein.

54. The Board's Decision adversely affects Plaintiff's
legal rights in that, inter alia, it resulted his termination
from employment. The Decision also has the negative effect of
chilling Plaintiff’s Free Speech, and interfering with his rights
of association, as well as affecting his personal reputation
negatively.

55. The Board’s hearing was held in Cook County,
Illinois.

56. Judicial review of the Decision and the
proceedings which culminated therein is sought because the

decision is erroneous and contrary to law.

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57. Among other reasons, the Decision is contrary to
the manifest weight of the evidence in myriad respects including,
but not limited to, the following:

(a) The evidence and testimony at the
Hearing establish unequivocally that Plaintiff committed no
offense warranting termination;

(b) The evidence and testimony at the
Hearing establish unequivocally that Plaintiff violated no
directives or Department rules, oral or written;

(c) Termination is clearly excessive based
on the evidentiary record;

{d) Termination as a penalty amounts to
selective enforcement of the Department’s rules, in that other
members of the Department have committed other more serious
wrongdoing without termination.

(e) Termination, rather than being
legitimate discipline, amounts to unconstitutional retaliation
including, inter alia, chilling free speech.

58. The termination penalty and the Charges themselves
were also blatantly pretextual attempts by Chief Houk to
retaliate against Plaintiff based on his efforts to exercise his
First Amendment rights, and were thereby invalid per se.

99. Further, certain evidentiary rulings made by the
Board against Plaintiff were contrary to well-established
evidentiary law and significantly impaired Plaintiff's ability to

present his case.

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60. Plaintiff specifies that the entire transcript of
the hearings, including exhibits, be furnished as part of the
record as part of the Defendants’ Answer. Also to be filed is
the entire pre-hearing record, including but not limited to all
motions, responses, and Orders.

WHEREFORE, Plaintiff, CARLOS PANTHERA, respectfully
requests that this Court:

A. Review the appeal of Plaintiff’s termination and
the record of the proceedings culminating therein;

B. Reverse and set aside Plaintiff's termination,
awarding him back pay and other equitable compensation;

Cc. Grant such further relief which this Court deems
lawful and proper.

JURY DEMAND

Plaintiff, CARLOS PANTHERA, hereby demands a trial by

jury pursuant to Federal Rule of Civil Procedure 38(b) on all

issues so triable.

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Arthur Loevy

Jon Loevy
Danielle Loevy
Jon Rosenblatt
LOEVY & LOEVY

434 West Ontario
Suite 400
Chicago, IL 60610
(312) 274-17001

RESPECTFULLY SUBMITTED,

GAM

Atforneys for Plaintiff

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JM SIC-giy
IN THE UNITED STATES pIstRtcT COURT
NORTHERN DISTRICE OF BEMINOTS
CARLOS PANTHERA, POD wre:

Plaintiff,
01 C 3059
Vv.

Judge Kennelly

VILLAGE OF OAK LAWN, CHIEF JAMES HOUK,
CAPTAIN VORDERER, LIEUTENANT TOM SIMON,
LIEUTENANT FRANK RAGLIONE, and BOARD OF
FIRE AND POLICE COMMISSIONERS JOHN C.
FRIEL, WILLIAM EGAN and ROBERT BANAS,

wee ee

Defendants.

NOTICE OF FILING

TO:
Michael J. Duggan Mic
Kathleen T. Henn CHAEL wp
Klein, Thorpe & Jenkins, Ltd. CLERK, Us. bistRic >
20 North Wacker Dr., Ste. 1600 COURT

Chicago, IL 60606
Please take notice that on June 26, 2001, I filed the

attached PLAINTIFF’S AMENDED COMPLAINT at the United States
Courthouse, 219 South Dearborn, Chicago, IL.

GM

Atto¥fneys for Plaintiff

Loevy & Loevy

434 West Ontario, Ste. 400
Chicago, IL 60610

{312) 274-1700

CERTIFICATE OF SERVICE

I, don Rosenblatt, an attorney, certify that on June
25, 2001, I sent by facsimile a copy of the attached PLAINTIFF’S
AMENDED COMPLAINT to the above-named parties.

Lhe

